198 F.2d 1020
    COMMISSIONER OF INTERNAL REVENUE, Petitioner,v.Roland G. EDENS.
    No. 14621.
    United States Court of Appeals Eighth Circuit.
    September 16, 1952.
    
      Petition to Review Decision of the Tax Court of the United States.
      Ellis N. Slack, Acting Asst. Atty. Gen., Charles W. Davis, Chief Counsel, Bureau of Internal Revenue, and John M. Morawski, Sp. Atty., Bureau of Internal Revenue, Washington, D. C., for petitioner.
      James J. Waters, Kansas City, Mo., and James A. Waechter, St. Louis, Mo., for respondent.
      PER CURIAM.
    
    
      1
      Petition to review decision of the Tax Court of the United States dismissed, on stipulation of parties.
    
    